Case 6:17-cv-02206-CEM-GJK Document 57 Filed 05/10/18 Page 1 of 10 PageID 426




                            UNITED STATES DISTRICT COURT
                             MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION

   NUVASIVE, INC.                         )
                                          )
               Plaintiff,                 )
                                          )
   v.                                     )            Civil Case No. 6:17-cv-2206-Orl-41GJK
                                          )
   ABSOLUTE MEDICAL, LLC, GREG            )
   SOUFLERIS, and DAVE HAWLEY,            )
                                          )
               Defendants.                )
   _______________________________________)

                  MOTION AND MEMORANDUM OF LAW
      TO COMPEL RESPONSES TO SUBPOENA DUCES TECUM SERVED UPON
                   ABSOLUTE MEDICAL SYSTEMS, LLC

          By and through its counsel of record, and pursuant to Federal Rule of Civil Procedure

   45(d), Plaintiff, NuVasive, Inc. (“NuVasive”), respectfully moves this Court to order Absolute

   Medical Systems, LLC (“AMS”), to fully respond to the subpoena NuVasive served on it. In

   support of this motion, NuVasive states that:

                                        INTRODUCTION

          AMS failed to provide any substantive response to a validly issued subpoena duces

   tecum served upon it. NuVasive is entitled to discover the documents and things requested

   from AMS via the subpoena as it easily meets the relatively low bar for discoverability and

   AMS’ stated objections are patently insufficient to withstand judicial scrutiny. As such, this

   Court should order AMS to fully respond to the subpoena issued by NuVasive.
Case 6:17-cv-02206-CEM-GJK Document 57 Filed 05/10/18 Page 2 of 10 PageID 427




                                               RELEVANT FACTS

              On April 12, 2018, NuVasive served a third-party subpoena duces tecum on AMS that

   contained 21 requests for documents (the “Subpoena”). (Subpoena, attached as Exhibit A).

   Defendant Absolute Medical, LLC’s (“Absolute Medical”) lead attorney agreed to accept

   service of the Subpoena in an email which acknowledges that Gregory Soufleris (“Soufleris”)

   is affiliated with AMS. (April 12, 2018, email exchange between Busch and Cardwell,

   attached as Exhibit B). As the Court is aware, Soufleris is a Defendant in this case and the

   sole member of Absolute Medical. 1 Documents obtained from Florida’s Secretary of State

   reflect that Soufleris is AMS’ president and registered agent. (Elec. Art. Org., attached as

   Exhibit C). The records from Florida’s Secretary of State also show AMS’ effective date as

   November 30, 2017. (Id.) As noted in paragraphs 29 and 32 of NuVasive’s Complaint for

   Injunctive Relief and Other Damages (the “Complaint”), this was:

                  a. three days after Soufleris illegally terminated Absolute Medical’s Exclusive
                     Sales Representation Agreement with NuVasive; and

                  b. five days before Absolute Medical’s lead counsel informed NuVasive’s counsel
                     that three of Absolute Medical’s sales representatives (including Defendant
                     Dave Hawley) resigned from Absolute Medical.
   (Compl., Doc. 1, at ¶¶ 29, 32, Ex. A, Ex. B).

              In its April 26, 2018, response to the Subpoena, AMS: (a) stated that it possesses no

   responsive documents to three of the document requests; and (b) refused to produce any

   documents responsive to the remaining 18 requests. (AMS’ Resp. and Obj. to Sub., attached

   as Exhibit D). AMS’ objections to the Subpoena indicate that Soufleris dissolved Absolute




   1
       A report from Sunbiz.org indicates that Soufleris voluntarily dissolved Absolute Medical on February 27, 2018.




                                                              2
Case 6:17-cv-02206-CEM-GJK Document 57 Filed 05/10/18 Page 3 of 10 PageID 428




   Medical in an attempt to avoid its contractual obligations to NuVasive and then formed AMS

   for the express purpose of competing with NuVasive—something Absolute Medical is

   contractually precluded from doing. Indeed, some consistent themes in the objections are that:

               a. AMS is in a contractual relationship with Alphatec Spine (the same company
                  for whom NuVasive alleges Absolute Medical now distributes products after
                  unlawfully terminating its contract to distribute NuVasive’s products);

               b. AMS should not be required to produce its communications with Alphatec
                  Spine;

               c. AMS should not be required to produce its communications with surgeons in
                  Absolute Medical’s NuVasive sales territory;

               d. AMS should not be required to produce documents which detail the sales of
                  Alphatec Spine’s products it made or records of the commissions it received
                  from those sales; and

               e. AMS should not be required to produce its contracts with its sales
                  representatives (including Defendant Dave Hawley)
   Paragraph 9 of NuVasive’s Complaint for Injunctive Relief and Damages (the “Complaint”)

   alleges that:

           Soufleris is Absolute Medical’s president and sole member. He is a citizen of
           the state of Florida who resides in Heathrow, Florida. Upon information and
           belief, Soufleris exercises complete control and dominion over Absolute
           Medical and has transferred funds out of Absolute Medical’s accounts into other
           businesses and entities that he controls so that, among other reasons, Absolute
           Medical’s creditors cannot collect on any claims or judgments against it.
   (Compl., Doc. 1, at ¶ 9). Similarly, Counts IV and V of the Complaint allege that Soufleris

   improperly utilized Absolute Medical’s corporate form to mislead and/or defraud NuVasive.

   (Id. at ¶¶ 61–71).




                                                   3
Case 6:17-cv-02206-CEM-GJK Document 57 Filed 05/10/18 Page 4 of 10 PageID 429




    STANDARD FOR COMPELLING RESPONSES TO SUBPOENAS DUCES TECUM

           “At the outset it is important to note that the scope of discovery is broad ‘in order to

   provide parties with information essential to the proper litigation of all relevant facts, to

   eliminate surprise and to promote settlement.’” SEC v. Rex Venture Grp., LLC, No. 5:13-MC-

   004-WTH-PRL, 2013 WL 127808, at *3 (M.D. Fla. Mar. 28, 2013) (quoting Coker v. Duke &

   Co., Inc., 177 F.R.D. 682, 685 (M.D. Ala. 1998)). Accordingly, the Federal Rules “strongly

   favor full discovery whenever possible.” Id. (quoting Farnsworth v. Procter & Gamble Co.,

   758 F.2d 1545, 1547 (11th Cir. 1985)). Parties should be permitted to obtain discovery

   regarding any non-privileged matter relevant to any party’s claims or defenses, and relevance

   is “construed broadly to encompass any matter that bears on, or that reasonably could lead to

   other matters that could bear on, any issue that is or may be in the case.” Id. (quoting

   Oppenheimer Fund, Inc. v. Sanders, 437 U.S. 340, 351 (1978)). A request will be considered

   relevant “if there is any possibility that the information sought may be relevant to the subject

   matter of the action.” Id. (quoting Roesberg v. Johns-Manville Corp., 85 F.R.D. 292, 292 (E.D.

   Pa. 1980)).

          It cannot be disputed that the “appropriate procedure to compel a non-party to produce

   documents is to serve them a subpoena as set forth in Rule 45.” Atlantic Sounding Co. v.

   Townsend, No. 3:05-cv-649-J20JRK, 2010 WL 11508297, at *2 (M.D. Fla. Feb. 25, 2010)

   (quoting EEOC v. Thorman & Wright Corp., 243 F.R.D. 426, 429 (D. Kan. 2007)). Once “the

   individuals or entities object on grounds of privilege or otherwise fail to produce the documents

   pursuant to subpoena that the Court will consider a motion requesting [that] the Court compel

   the entity to produce the documents pursuant to Rule 45.” Id. (quoting Thorman & Wright,




                                                    4
Case 6:17-cv-02206-CEM-GJK Document 57 Filed 05/10/18 Page 5 of 10 PageID 430




   243 F.R.D. at 429). Objections must be “plain enough and specific enough so that the court

   can understand in what way the [discovery is] alleged to be objectionable.” Rex Venture Grp.,

   2013 WL 1278088, at *4 (quoting Panola Land Buyers Ass’n v. Shuman, 762 F.2d 1550, 1559

   (11th Cir. 1985)). Objections merely stating that the discovery is overbroad and/or irrelevant

   are not sufficient; the objecting party must state why it is overly broad or not relevant. Id.

   (citing Josephs v. Harris Corp., 677 F. 2d 985, 992 (3d Cir. 1982)).

                                                  ARGUMENT

            Applying this standard to AMS’ objections to the Subpoena’s document requests

   requires a finding that those objections are insufficient. For the reasons stated below, the Court

   should compel AMS to fully respond to the Subpoena.

       A. AMS’ Objections Based on Confidential, Proprietary, and/or Trade Secret
          Information are Insufficient. 2

            First, AMS’ objections to Document Request Nos. 2, 5, 13–17, and 20–21 on the

   substantively identical basis that they improperly seek AMS’ confidential, proprietary, trade

   secret, and/or economic information are insufficient out-of-hand and should be overruled by

   this Court. AMS improperly relies on the case of Medi-Weightloss Franchising USA, LLC v.

   Medi-Weightloss Clinic of Boca Raton, LLC, No. 8:11-cv-2437-T-30MAP, 2012 WL

   12904394 (M.D. Fla. May 10, 2012), for the proposition that this information is precluded

   from discovery. However, this case actually belies AMS’ position as the court found “such

   unsupported allegations insufficient to establish trade secret protection or privilege.” Id. at *2.



   2
     Local Rule 3.04(a) requires that motions to compel filed pursuant to Federal Rules of Civil Procedure 36 and 37
   contain a quotation of the discovery request along with the opposing party’s response. But because this motion
   is filed pursuant to Federal Rule of Civil Procedure 45, Local Rule 3.04 does not apply.




                                                             5
Case 6:17-cv-02206-CEM-GJK Document 57 Filed 05/10/18 Page 6 of 10 PageID 431




   As the Court held, “[t]he party invoking the privilege bears the burden of proof.” Id. (citing

   Spitznagel v. R & D Italia, LLC, No. 2:09-cv-824-FtM-29SPC, 2011 WL 940052 (M.D. Fla.

   Mar. 17, 2011)). AMS can meet its burden “only by an evidentiary showing based on

   competent evidence, and cannot be discharged by mere conclusory or ipse dixit assertions.”

   Id. (quoting CSX Transp., Inc. v. Admiral Ins. Co., No. 93-132-Civ-J-10, 1995 WL 855421

   (M.D. Fla. July 20, 1995)). Respectfully, AMS’ objections are nothing more than conclusory

   statements without any evidentiary support whatsoever, much less competent evidence. Since

   AMS failed to carry its burden regarding its objections to Document Requests Nos. 2, 5, 13–

   17, and 20–21, this Court should disregard them and compel production of responsive

   documents.

      B. AMS’ Objections that Certain Requests are Outside the Scope of this Action are
         Insufficient.

          This Court should overrule AMS’ objections to every document request—except the 3

   requests to which AMS states it has no responsive documents—on the basis that they are

   outside the scope of the action because the Requests easily satisfy the discovery rules’ broad

   interpretation and strong preference for complete discovery. For example, AMS claims that

   its relationships with Alphatec Spine, Defendant Absolute Medical, Defendant Soufleris,

   Absolute Medical’s former sales representatives, and Absolute Medical’s former surgeon-

   customers are all outside the scope of this action.

          AMS’ argument is untenable at best. Without limitation, NuVasive alleges in its

   Complaint that: (i) Soufleris and other former Absolute Medical sales representatives are

   unfairly competing with NuVasive; (ii) this unfair competition involves NuVasive’s former




                                                     6
Case 6:17-cv-02206-CEM-GJK Document 57 Filed 05/10/18 Page 7 of 10 PageID 432




   Absolute Medical surgeon-customers; (iii) and Soufleris has abused the corporate form and

   transferred Absolute Medical’s business and assets to other businesses that he controls. (See

   generally, Compl., Doc. 1). As set forth above and evidenced by Exhibit C to this Motion, it

   is incredibly likely—if not certain—that AMS is the new entity through which Absolute

   Medical, Soufleris, and the other former sales representatives 3 are unfairly competing with

   NuVasive by representing Alphatec’s competitive products. It defies reason to assert that the

   materials sought in these requests does not “bear[] on, or that reasonably could lead to other

   matters that could bear on, any issue that is or may be in the case.” See Rex Venture Grp.,

   LLC, 2013 WL 1278088, at *3.

           In essence, AMS claims the Subpoena seeks documents outside the scope of the action

   because AMS is not a party to the action. Of course, if the Court were to accept this position,

   subpoenas duces tecum would be rendered toothless as their sole purpose is the production of

   documents and things from nonparties. Therefore, the Court should overrule these objections

   and order AMS to comply with the Subpoena.

       C. AMS’ Remaining Boilerplate Objections are Insufficient.

           Finally, AMS’ boilerplate objections to Document Request Nos. 9 through 21 should

   be overruled by this Court because they are insufficient as a matter of law. AMS, apparently

   recognizing that conclusory objections will not pass scrutiny, attempts to argue that the

   following terms and/or phrases are incomprehensible: “all records related to transactions;” “all


   3
     Incredibly, AMS objects to the relevance of documents related to Dave Hawley who is, in fact, a Defendant in
   this case. (Ex. D, at ¶ 6). Further, as alleged in the Complaint, Absolute Medical was contractually required to
   ensure that its former sales representatives entered into non-competition and non-solicitation agreements and
   these former sales representatives are now improperly competing with NuVasive. (See Compl., Doc. 1, at ¶¶ 24–
   25, 33–40). Yet, AMS objects to the relevance of documents related to those former sales representatives—who
   now all work for AMS, in direct competition with NuVasive. (See Ex. D, at ¶¶ 6–8).




                                                            7
Case 6:17-cv-02206-CEM-GJK Document 57 Filed 05/10/18 Page 8 of 10 PageID 433




   contracts or other agreements;” “all communications;” “all contracts;” “charge sheets;” “all

   payments received;” and “all commission statements.” (See generally Ex. D, at ¶¶ 9–21). A

   cursory review of these objections reveals they are inadequate, and NuVasive states as follows

   in response:

              a. the term “communication” was clearly defined in the Subpoena, (Ex. A, at §
                 I(7));

              b. the phrase “contracts or other agreements” should be assigned the same
                 meaning in the purportedly objectionable document requests as it was in
                 Requests Nos. 1 and 4, for which AMS was apparently able to discern a
                 meaning and state that it possesses no responsive documents, (Ex. D, at ¶¶ 1,
                 4);

              c. the phrase “charge sheets” is a common industry term utilized by medical
                 device manufacturers, sellers, and distributors, and any attempt to feign
                 ignorance thereof is disingenuous; and

              d. the remaining purportedly objectionable terms and/or phrases can, and should,
                 be assigned their common meaning with ease.

   In sum, AMS should not be permitted to shirk its obligation to respond to the Subpoena by

   stating that it cannot comprehend terms and phrases that are: (i) expressly defined; (ii)

   inherently unambiguous; or (iii) are common trade usage. Accordingly, this Court should

   disregard all of AMS’ objections and order that it fully comply with the Subpoena.

                                         CONCLUSION

          For the reasons set forth above, this Court should order AMS to fully respond to the

   Subpoena issued and served upon it.




                                                   8
Case 6:17-cv-02206-CEM-GJK Document 57 Filed 05/10/18 Page 9 of 10 PageID 434




                           LOCAL RULE 3.01(g) CERTIFICATION

          Pursuant to Local Rule 3.01(g), undersigned counsel hereby certifies that M. Thomas

   McFarland conferred with opposing counsel telephonically on May 9, 2018, in a good faith

   effort to resolve the issues raised by this motion was unable to do so.

   Dated: May 10, 2018

                                                 Respectfully submitted,

                                                 s/Diana Evans
                                                 R. Craig Mayfield (Fla. Bar No. 0429643)
                                                 cmayfield@bradley.com
                                                 Diana Evans (Fla. Bar No. 98945)
                                                 Dnevans@bradley.com
                                                 Bradley Arant Boult Cummings LLP
                                                 100 North Tampa Street, Suite 2200
                                                 Tampa, Florida 33602
                                                 Tel: (813) 559-5500
                                                 Fax: (813) 229-5946

                                                 Christopher W. Cardwell, Esq. (pro hac vice)
                                                 M. Thomas McFarland, Esq. (pro hac vice)
                                                 GULLETT, SANFORD, ROBINSON &
                                                 MARTIN, PLLC
                                                 150 Third Avenue South, Suite 1700
                                                 Nashville, TN 37201
                                                 (615) 244-4994 (Telephone)
                                                 (615) 256-6339 (Facsimile)
                                                 ccardwell@gsrm.com
                                                 tmcfarland@gsrm.com

                                                 Attorneys for Plaintiff NuVasive, Inc.




                                                    9
Case 6:17-cv-02206-CEM-GJK Document 57 Filed 05/10/18 Page 10 of 10 PageID 435




                                    CERTIFICATE OF SERVICE

             I hereby certify that on May 10, 2018, a copy of the foregoing was filed electronically.
    Notice of this filing will be sent by operation of the Court’s electronic filing system to all parties
    indicated on the electronic filing receipt. Nonparty, Absolute Medical Systems, LLC, will also
    be served by email and U.S. Mail. Parties may access this filing through the Court’s electronic
    filing system. The party or parties served are as follows:

     Bryan Busch                                        Laura H. Mirmelli
     Adams and Reese LLP                                Adams and Reese LLP
     3424 Peachtree Road, NE, Suite 1600                3424 Peachtree Road, NE, Suite 1600
     Atlanta, GA 30326                                  Atlanta, GA 30326
     Phone: (470) 427-3702                              Phone: (470) 427-3716
     Fax: (470) 427-3676                                Fax: (404) 500-5975
     bryan.busch@arlaw.com                              laura.mirmelli@arlaw.com

     Chantal M. Pillay                                  Louis M. Ursini
     Adams and Reese LLP                                Adams and Reese LLP
     350 E. Las Olas Boulevard, Suite 1110              101 E. Kennedy Boulevard, Suite 4000
     Ft. Lauderdale, FL 33301                           Tampa, FL 33602
     Phone: (954) 541-5390                              Phone: (813) 227-5536
     Chantal.pillay@arlaw.com                           Fax: (813) 227-56-36
                                                        Louis.ursini@arlaw.com

                                  Attorneys for Defendants & Absolute
                                         Medical Systems, LLC




                                                             s/Diana Evans
                                                             Diana Evans

                                                             Attorney for NuVasive, Inc.




                                                       10
